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  Judge Thomas Parker
  167 N. Main Street #242
  Memphis, TN 38103


  May 20, 2023


  Dear Judge Parker:

  It has come to my attention that you are blocking SB0003/HB0009, the bill signed into law to
  end public sexualized performances in the presence of minors in Tennessee. Please allow this
  bill to go into effect to protect the innocence of our children from inappropriate drag queen
  shows.

  Purposely exposing a child to adult sexuality is tantamount to child endangerment and child
  sexual abuse, whether or not a child is touched. Non-touching behaviors can be just as
  upsetting and emotionally harmful to a child as some touching behaviors. Hopefully, your final
  decision on May 26 will enable this bill to go into effect without further delay.

  Thank you,


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  ~aelCasey
  Loudon, TN 37774
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